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PROPOSED ATTORNEYS FOR THE DEBTOR

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                               §
                                                     §
HIGHLAND SELECT EQUITY                               §
FUND GP, L.P.                                        §   CASE NO: 23-31039-mvl7
                                                     §   (Chapter 11)
DEBTOR.                                              §

                                 AMENDED NOTICE OF HEARING

         PLEASE TAKE NOTICE that the Debtor’s Motion to Transfer/Reassign Case (the

“Motion”) [Docket No. 9], filed on June 12, 2023, is scheduled to be heard on July 19, 2023, at

1:30 p.m. before the Honorable Michelle V. Larson, 1100 Commerce Street, 14th Floor,

Courtroom #2, Dallas, Texas. Parties may appear in person or by WebEx video conferencing as

follows:


                            For WebEx Video Participation/Attendance:

                              Link: https://us-courts.webex.com/meet/larson

                      For WebEx Telephonic Only Participation/Attendance:

                                         Dial-In: 1-650-479-3207

                                       Access Code: 160 135 6015

A copy of Judge Larson’s WebEx Hearing Instructions is attached hereto.




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                                             Respectfully submitted,

                                             QUILLING, SELANDER, LOWNDS, WINSLETT
                                             & MOSER, P.C.
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                                             By: /s/ Hudson M. Jobe
                                                Hudson M. Jobe
                                                State Bar No. 24041189

                                             PROPOSED ATTORNEYS FOR DEBTOR


                                CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2023, a true and correct copy of the foregoing Notice has
been served by electronic transmission via the Court’s CM/ECF system upon all parties
registered to receive electronic notice in this bankruptcy case and via first-class mail on the
parties listed on the mailing matrix attached hereto.

                                                      /s/ Hudson M. Jobe
                                                     Hudson M. Jobe




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